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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF ALABAMA
                              NORTHERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )
       v.                                  )      CASE NO. 2:12-CR-48-MHT
                                           )      [wo]
JOSEPH SANDERS                             )

     REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE

       Pursuant to 28 U.S.C. § 636(b)(1) this case was referred to the undersigned United

States Magistrate Judge for review.       The defendant, Joseph Sanders (“Sanders” or

“Defendant”), was charged in an indictment on March 8, 2012, with one count of deprivation

of rights in violation of 18 U.S.C. §§ 2 and 242, one count of conspiracy to obstruct in

violation of 18 U.S.C. § 1512(b)(3), one count of obstruction of justice by falsification of

documents in violation of 18 U.S.C. § 1519, one count of obstruction of justice by misleading

conduct in violation of 18 U.S.C. § 1512(b)(3), and one count of false statements in violation

of 18 U.S.C. § 1001. See Doc. 3. Pending before this Court is Defendant Joseph Sanders’

Motion to Dismiss (Doc. 51, filed June 29, 2012) “for failure to state an offense as the

conduct complained of is not contemplated by each statute section and each section should

be struck down as unconstitutionally vague.” For reasons set forth herein the Magistrate

Judge recommends that the District Judge DENY Defendant Joseph Sanders’s Motion to

Dismiss (Doc. 51).




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                                 I. FINDINGS OF FACT

       From the allegations in Counts Ten and Fourteen of the indictment plus the arguments

set out in Defendant Sanders’ Motion to Dismiss (Doc. 51) and the Government’s Response

(Doc. 75) the operative facts are not in dispute. While the Court takes account of the

allegations in the indictment, to render a decision in this regard the court need not and does

not pass judgment on the truthfulness of the allegations set out in Count Ten and Fourteen

of the indictment. In the Motion, Sanders implicitly concedes the evidence may be sufficient

to show 1) that he made certain material statements to Alabama officials during the course

of an official investigation into the circumstances of the death of Roscrast Mack, an Alabama

Department of Corrections inmate; 2) the statements were false; 3) defendant Sanders then

knew the statements were in fact false and intended to cover up his culpability or the

culpability of someone else in the death of inmate Mack; 4) defendant Sanders did not know

the matter would ultimately be investigated by a federal law enforcement agency.

                                          II. ISSUE

       Defendant Sanders posits that Counts 10 and 14 which purport to allege violations 18

U.S.C.§1519 and 18 U.S.C. § 1512(b)(3) respectively warrant dismissal as vague and for

failure to state an offense. With respect to each statute the argument rests on the fact

defendant Sanders did not know any statement he made to State of Alabama authorities

about the circumstances surounding the death of inmate Mack would be passed on to federal

authorities thus subjecting him to potential federal criminal liability.


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                                      III. ANALYSIS

A.     Count Ten

       Defendant Sanders rightly concedes the issue is one of first impression in this Circuit.

Inasmuch as no other binding precedent squarely presents facts where a defendant did not

know or arguably have any reason to know his statements might incur federal criminal

liability if they are indeed false, because no federal investigation was underway or

contemplated at the time the defendant made the allegedly false statements. Defendant

Sanders also rightly concedes neither statute on its face requires the declarant to know or

have reason to know the statements relate to a matter which might subject the declarant to

federal criminal charges.

       The text of each statute reads:

       Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies,
       or makes a false entry in any record, document, or tangible object with the
       intent to impede, obstruct, or influence the investigation or proper
       administration of any matter within the jurisdiction of any department or
       agency of the United States or any case filed under title 11, or in relation to or
       contemplation of any such matter or case, shall be fined under this title,
       imprisoned not more than 20 years, or both.

18 U.S.C. § 1519 (2002).

       (b) Whoever knowingly uses intimidation, threatens, or corruptly persuades
       another person, or attempts to do so, or engages in misleading conduct toward
       another person, with intent to— [. . .] (3) hinder, delay, or prevent the
       communication to a law enforcement officer or judge of the United States of
       information relating to the commission or possible commission of a Federal
       offense or a violation of conditions of probation [1] supervised release,, [1]
       parole, or release pending judicial proceedings; shall be fined under this title
       or imprisoned not more than 20 years, or both.

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18 U.S.C. § 1512(b)(3) (2008).

       While there is no Supreme Court or Circuit precedent directly on point, the court notes

there are various federal statutes which subject a person to federal criminal liability even

though the person may not realize their actions subject them to federal criminal prosecution.

For instance, a routine automobile theft case ordinarily subjects a thief exclusively to state

or local prosecution for theft. Federal criminal liability would exist if the thief did not know

when he stole the car that the car was an unmarked car and perchance belonged to an agency

of the United States. 18 U.S.C. § 641 (2004). Federal criminal jurisdiction would likewise

exist if the same person was apprehended in the stolen car one inch across the border of an

adjoining state whether or not the person knew of the federal law against the interstate

transportation of a stolen motor vehicle. 18 U.S.C. § 2312 (2006). Federal criminal

jurisdiction would likewise exist if the thief knew of the federal law against the interstate

transportation of stolen cars and diligently tried to remain within the state where he stole the

car but because of fatigue, bad weather or mere accident drove the stolen car momentarily

one inch cross the border of an adjoining state. Id. A person who has never been outside the

borders of their state and commits a felony under state law and thereafter posesses a firearm

is subject to federal criminal jurisdiction even if the felon did not know the firearm traveled

in interstate or foreign commerce 18 U.S.C §922(g) (2005). One conducting a fraud which

uses the wires or mail subjects one to federal prosecution whether one knows that a wire

transmission will be sent or that the mails will be used. 18 U.S.C. §§ 1341, 1343 (2008). In


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fact, one who engages in a conspiracy or aids and abets a crime set out in federal law is

subject to federal prosecution even though the coconspirator or aider and abetter did not

know most of the details of the crime or the identity of a coconspirator who committed the

underlying crime so long as the crime was reasonably foreseeable. 21 U.S.C. 846 (1988).

As long as one knows and intends to commit certain acts which violate the law, criminal

prosecution is permissible, and permissible by federal authorities even though one may not

be aware that one of the ramifications of the act is federal criminal liability.

       Generally, an indictment is sufficient if it contains a “plain, concise, and definite

written statement of the essential facts constitting the offense charged.” FED. R. CRIM. P.

7(c)(1). An indictment is legally sufficient if it (1) presents the essential elements of the

charged offense, (2) notifies the accused of the charges to defend against, and (3) enables the

accused to invoke the double jeopardy clause in any subsequent prosecution for the same

offense. United States v. Schmitz, 634 F. 3d 1247, 1259-0 (11th Cir. 2011) (citing United

States v. Jordan, 582 F. 3d 1239, 1245 (11th Cir. 2009)); see also Hamling v. United States,

418 U.S. 87, 117 (1974). An indictment which tracks the language of the statute is

“generally sufficient” as long as “those words of themselves fully, directly and expressly,

without any uncertainty or ambiguity, set forth all the elements necessary to constitute the

offense intended to be punished.” United States v. Ramos, 666 F.2d 469, 474 (11th Cir.

1982) (quoting United States v. Carll, 105 U.S. 611, 612, 26 L.Ed. 1135 (1882)). Sanders

concedes and the Magistrate agrees that the indictment meets the general requirements for


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sufficiency. Thus, the Magistrate Judge turns to the nearest precedent to decide whether the

charges at issue must specify, and facts at trial prove, that Sanders knew the statements

would subject him to federal criminal jurisdiction.

       First, all the circuits to address precisely whether a defendant need know of the

potential federal prosecution at the time the defendant makes the false statement hold against

defendant Sanders.1 United States v. Gray, 642 F. 3d 371, 378 (2nd Cir. 2011); United States

v. Moyer, 674 F. 3d 192, 208 (3rd Cir. 2012); United States v. Kernell, 667 F. 3d 746, 753

(6th Cir. 2012); United States v. Yielding, 657 F. 3d 688, 714 (8th Cir. 2011). The common

thread among the Circuits who reject the argument of defendant Sanders is the statute on its

face does not require a defendant to know that a federal investigation is ongoing. Generally,

the rulings reflect the principles that courts resist reading words or elements into a statute that

do not appear in the statues and that the mens rea element of a crime does not extend to the

jurisdictional element of the crime. See Bates v. United States, 522 U.S. 23, 29 (1997);

Moyer, 674 F.3d at 208. The Magistrate Judge finds the analysis of each of the foregoing

cases persuasive even though no binding precedent exists in this Circuit.

       To the extent any binding circuit precedent may illuminate the matter, indications are

the issue will be decided against defendant Sanders even assuming that he did not know or

could not have known the statements might become part of a federal inquiry. In United

States v. Fontenot, Fontenot made the same argument as Sanders, but did not object to the

       1
         The Magistrate Judge notes with appreciation that Counsel for defendant Sanders was
very forthright in citing the authorities contrary to his argument.

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jury instruction at trial that the defendant need not know his statement would obstruct a

federal investigation. 611 F. 3d 734, 737 (11th Cir. 2010) cert. denied, 131 S. Ct. 1601, 179

L. Ed. 2d 504 (U.S. 2011). Under a plain error standard of review, Fontenot’s knowledge

argument failed. Id. at 738. Seemingly, Fontenot found the error not to be plain, in part,

because the statute on its face does not require a declarant to know that a federal

investigation is ongoing. The concurrence in Fontenot determined that the legislative history

indicates Congress intended for 18 U.S.C. § 1519 to “apply broadly.” Id. at 739. Senator

Leahy’s report broke down § 1519 in the following manner, clearly emphasizing the

jurisdictional statement and separating it from the elements of the crime:

       Section 1519 is meant to apply broadly to any acts to destroy or fabricate
       physical evidence so long as they are done with the intent to obstruct, impede
       or influence the investigation or proper administration of any matter, and such
       matter is within the jurisdiction of an agency of the United States, or such acts
       done either in relation to or in contemplation of such a matter or investigation.

Id. at 737-38 (quoting S.Rep. No. 107–146, at 14 (2002)) (emphasis added). Senator Leahy’s

remarks on the floor while introducing the bill he co-sponsored are clear that the mens rea

element does not extend to the jurisdictional element when he said “[t]he fact that a matter

is within the jurisdiction of a federal agency is intended to be a jurisdictional matter, and not

in any way linked to the intent of the defendant.” Id. at 739 (quoting 148 Cong. Rec.

S1783–01, S1786 (daily ed. Mar. 12, 2002) (statement of Sen. Leahy). Senator Leahy further

stated that the “intent of the provision is simple; people should not be destroying, altering,

or falsifying documents to obstruct any government function.” S. Rep. No. 146, S. REP.


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107-146, 15 (2002) (emphasis added).

       While the Magistrate Judge did not hold an evidentiary hearing, the essential facts are

not in dispute. Additional facts may be raised at trial which demonstrate that Sanders did not

notify federal authorities that there may be an inconsistency with the alleged claims made.

This may be sufficient, even under Sanders’ theory, to show that a jury may infer that he was

making a statement within the purview of the statute at issue. Assuming arguendo that such

facts exist, upon actually having notice that a federal investigation was pending on the

matter, Sanders at that time would have had an opportunity to recant any alleged false claims

that may have been made. At this early stage, there is no indication in the pleadings that

Sanders recanted any of the alleged false claims to any federal agent upon learning of the

existence of a federal investigation. Having the knowledge of a federal investigation,

Sanders, unless evidence can be presented otherwise, potentially allowed the federal agents

to rely on the alleged false statements, which would result in a continuing crime.

       From its survey of the federal criminal code and the analogous but nonbinding

precedent, the Magistrate Judge concludes the matter hinges on the difference between

knowledge of one’s actions and knowledge of the ramifications of one’s actions.            As

previously mentioned, as long as one knows and intends to commit certain acts which violate

the law, criminal prosecution is permissible, and permissible by federal authorities even

though one may not be aware that one of the ramifications of the act is federal criminal

liability. Mens rea generally does not extend to matters of jurisdiction. Viewed through the


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lens of knowledge of one’s actions and the ramifications of the action, the issue is as old and

constant as the first legal issue known to western civilization- whether Adam and Eve may

righly suffer earthly punishment for an act knowingly done against heavenly law but without

knowledge of the full ramifications of the consequences of their act. Then and now the

answer, in the opinion of the Magistrate Judge, is yes.

B.     Count Fourteen

       Sanders also asserts that Count Fourteen of the indictment is due to be dismissed. See

Doc. 51 at 8. Sanders correctly cites to United States v. Veal, as a controlling case in this

Circuit. 153 F.3d 1233 (11th Cir. 1998). In Veal, the Government alleged that the

defendants in Veal “misled state investigators by not telling them the true circumstances

surrounding [the victims] death to prevent the investigators from learning the actual facts of

his death and, thereby, precluding their communicating those facts to the Federal Bureau of

Investigation, the United States Department of Justice, and judges of the United States.” The

Eleventh Circuit held that the conduct of the defendants fell within the broad language of §

1512(b)(3). Id. at 1245-46. The defendants were charged and evidence was presented at trial

that proved “that false or contrived and misleading information was given to state

investigators with no knowledge or intent that this information would be communicated to

federal authorities relative to a federal crime or investigation.” Id. at 1247-48.

       The Eleventh Circuit determined that “federal jurisdiction under § 1512(b)(3) is based

on the federal interest of protecting the integrity of potential federal investigations by


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ensuring that transfers of information to federal law enforcement officers and judges relating

to the possible commission of federal offenses be truthful and unimpeded.” Id. at 1250. The

court further determined that on its face, “§ 1512(b)(3) does not depend on the existence or

imminency of a federal case or investigation but rather on the possible existence of a federal

crime and a defendant's intention to thwart an inquiry into that crime.” Id. Section

1512(b)(3) protects an important federal interest by “[s]eeking to foster the communication

of truthful, nonmisleading information to federal authorities regarding a possible federal

crime.” Id. at 1251.

        The court found that to establish a violation of § 1512(b)(3), “it is sufficient if the

misleading information is likely to be transferred to a federal agent,” and all that is required

for a defendant’s violation of § 1512(b)(3) “was the possibility or likelihood that their false

and misleading information would be transferred to federal authorities irrespective of the

governmental authority represented by the initial investigators. Id. at 1251-52 (citing United

States v. Fortenberry, 971 F.2d 717, 719-20 n. 9 (11th Cir.1992)). Likewise, the court found

that:

        § 1512(b)(3) does not require that a defendant know the federal nature of the
        crime about which he provides information because the statute criminalizes the
        transfer of misleading information which actually relates to a potential federal
        offense, regardless of whether the communicator of such information knows
        or believes that the crime about which he knowingly provides false or
        misleading information is federal.

Id. at 1252. The court held that “[b]y its plain wording, § 1512(b)(3) is designed to ensure

that information received by federal investigators or judges regarding a potential federal

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crime be correct, truthful, and complete to facilitate a full and fair investigation and

adjudication.” Id. The court further held that it “is irrelevant to that inquiry whether the

person who provides false or misleading information that ultimately becomes relevant to a

federal investigation intended that a federal investigator or judge receive that information;

it is relevant only that a federal investigator or judge received it. Id. (citing Fortenberry, 971

F.2d at 720 n. 9).

       It is clear, and Sanders concedes, that under Veal, the Motion to Dismiss is due to be

denied. However, Sanders argues that a subsequent United States Supreme Court case ruling

on a separate subsection of § 1512 requires a different standard. In Fowler v. United States,

the Supreme Court analyzed § 1512(a)(1)(C), which contains very similar language as §

1512(b)(3), but rather applies to charges of murder and attempted murder to prevent

communication to federal officials.2 131 S. Ct. 2045, 2052, 179 L. Ed. 2d 1099 (2011).

Sanders asserts that since the Fowler ruling on subsection (a)(1)(C) was issued subsequent

to the Veal ruling on subsection (b)(3), and in light of the similar language, the Fowler ruling

“should temper, if not overturn, the holding of Veal.” See Doc. 51 at 9.

       Fowler reached the Supreme Court on the appeal of an Eleventh Circuit decision. See

United States v. Fowler, 603 F.3d 883, 885 (11th Cir. 2010) cert. granted, 131 S. Ct. 596,


       2
          The relevant subsection of 18 U.S.C. 1512 reads as follows: (a)(1) Whoever kills or
attempts to kill another person, with intent to— (C) prevent the communication by any person to
a law enforcement officer or judge of the United States of information relating to the commission
or possible commission of a Federal offense or a violation of conditions of probation, parole, or
release pending judicial proceedings; shall be punished as provided in paragraph (3). The added
italics represent the language that mirrors that of subsection (b)(3).

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178 L. Ed. 2d 433 (U.S. 2010) and vacated and remanded, 131 S. Ct. 2045, 179 L. Ed. 2d

1099 (U.S. 2011) and vacated and remanded, 654 F.3d 1178 (11th Cir. 2011). In the

Eleventh Circuit opinion, the Court held that the “possible or potential communication to

federal authorities of a possible federal crime is sufficient for purposes of section

1512(a)(1)(C).” Id. at 888. The Supreme Court, however, found that fashioning a standard

based around the word “likely” is more consistent with the statute’s language and objectives.

Fowler, 131 S. Ct. at 2052. The Court consequently held that “(in a case such as this one

where the defendant does not have particular federal law enforcement officers in mind) the

Government must show a reasonable likelihood that, had, e.g., the victim communicated

with law enforcement officers, at least one relevant communication would have been made

to a federal law enforcement officer.” Id. In short, the government “must show that the

likelihood of communication to a federal officer was more than remote, outlandish, or simply

hypothetical.” Id.

       The defendant argues that the Supreme Court’s holding in Fowler effectively

overrules Veal. The Supreme Court, however, does not at any time refer to Veal or §

1512(b)(3) in its Opinion. Therefore, this Court must rely solely on the holding in Veal

which is directly on point and binding precedent in this Circuit. Unless and until the

Eleventh Circuit adopts the Supreme Court’s ruling in Fowler, or the Supreme Court issues

a holding with respect to § 1512(b)(3), Veal will continue to be the controlling precedent on

the issue.


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       Even if the undersigned were to agree with Sanders’ position, the Court would be

unable to issue an opinion on the issue at this early stage. Determining whether a

“reasonable likelihood” existed that a communication would have been made to a federal

official requires the Magistrate Judge to make a determination of fact. Courts have held that

“[i]t is now well-established that, at this stage of a criminal action, the court may not “look[

] beyond the face of the indictment and rul[e] on the merits of the charges against [a

defendant].” United States v. Miller, 694 F. Supp. 2d 1259, 1267 (M.D. Ala. 2010) (citing

United States v. Salman, 378 F.3d 1266, 1267 (11th Cir.2004); and United States v. Critzer,

951 F.2d 306, 307 (11th Cir.1992) (per curiam)). The Eleventh Circuit has explained that

“[t]here is no summary judgment procedure in criminal cases.” Salman, 378 F.3d at 1267

(quoting Critzer, 951 F.2d at 307). Consequently, the Motion to Dismiss Count Fourteen is

due to be denied.

                                      IV. CONCLUSION

       Accordingly, it is the RECOMMENDATION of the Magistrate Judge that the District

Judge DENY the Motion to Dismiss (Doc. 51).

       It is further ORDERED that the Plaintiff file any objections to this Recommendation

on or before January 18, 2013. Any objections filed must specifically identify the findings

in the Magistrate Judge's Recommendation to which the party is objecting. Frivolous,

conclusive or general objections will not be considered by the District Court. The parties are

advised that this Recommendation is not a final order of the court and, therefore, it is not


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appealable.

       Failure to file written objections to the proposed findings and recommendations in the

Magistrate Judge's report shall bar the party from a de novo determination by the District

Court of issues covered in the report and shall bar the party from attacking on appeal factual

findings in the report accepted or adopted by the District Court except upon grounds of plain

error or manifest injustice. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982); see Stein

v. Reynolds Securities, Inc., 667 F.2d 33 (11th Cir. 1982); see also Bonner v. City of

Prichard, 661 F.2d 1206 (11th Cir. 1981, en banc) (adopting as binding precedent all of the

decisions of the former Fifth Circuit handed down prior to the close of business on

September 30, 1981).

       DONE this 4th day of January, 2013.

                                           /s/ Terry F. Moorer
                                           TERRY F. MOORER
                                           UNITED STATES MAGISTRATE JUDGE




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